     Case 2:14-cr-00021-RMP            ECF No. 1797         filed 01/15/16      PageID.9977 Page 1 of 2
PROB 12C                                                                             Report Date: January 14, 2016
(7/93)

                                       United States District Court                                      FILED IN THE
                                                                                                     U.S. DISTRICT COURT
                                                                                               EASTERN DISTRICT OF WASHINGTON

                                                       for the
                                                                                                Jan 15, 2016
                                        Eastern District of Washington                              SEAN F. MCAVOY, CLERK



                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Kenneth R. Budik                         Case Number: 0980 2:14CR00021-RMP-18
 Address of Offender: 553 East Crown, Spokane, Washington 99207-1317
 Name of Sentencing Judicial Officer: The Honorable Rosanna Malouf Peterson, Chief U. S. District Judge
 Date of Original Sentence: March 17, 2015
 Original Offense:        Conspiracy to Distribute Oxycodone Hydrochloride, 21 U.S.C. § 841(a)(1), (b)(1)(C)
 Original Sentence:       Prison - 24 months;               Type of Supervision: Supervised Release
                          TSR - 36 months
 Asst. U.S. Attorney:     Aine Ahmed                        Date Supervision Commenced: December 9, 2015
 Defense Attorney:        Federal Defenders Office          Date Supervision Expires: December 8, 2018


                                         PETITIONING THE COURT

                To issue a summons.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

           1            Mandatory Condition # 2: The defendant shall not commit another Federal, state, or local
                        crime.

                        Supporting Evidence: On January 10, 2016, Mr. Budik violated his conditions of
                        supervision is Spokane, Washington, by being placed under arrest for charges of driving
                        under the influence.

           2            Special Condition # 14: You shall undergo a substance abuse evaluation and, if indicated
                        by a licensed/certified treatment provider, enter into and successfully complete an approved
                        substance abuse treatment program, which could include inpatient treatment and aftercare.
                        You shall contribute to the cost of treatment according to your ability to pay. You shall
                        allow full reciprocal disclosure between the supervising officer and treatment provider.

                        Supporting Evidence: On January 11, 2016, Mr. Budik violated his conditions of
                        supervision in Spokane, Washington, by failing to obtain a chemical dependency evaluation.
                        On December 11, 2015, Mr. Budik was directed by the undersigned officer to contact
                        Alcohol Drug Education Prevention Treatment (ADEPT) to complete a chemical
                        dependency evaluation. On January 11, 2016, the undersigned officer contacted ADEPT and
                        was advised that Mr. Budik had not scheduled his chemical dependency evaluation and had
                        not made any attempt to contact them.
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          3          Special Condition # 15: You shall abstain from alcohol and shall submit to
                     testing(including urinalysis and Breathalyzer) as directed by the supervising officer, but no
                     more than 6 tests per month, in order to confirm abstinence from this substance.

                     Supporting Evidence: On January 10, 2016, Mr. Budik violated his conditions of
                     supervision in Spokane, Washington, by consuming alcohol. Mr. Budik was charged with
                     driving under the influence (DUI) on January 10, 2016. He self reported to the undersigned
                     officer that he was drinking champagne the night of his DUI arrest.

The U.S. Probation Office respectfully recommends the Court issue a summons requiring the offender to appear
to answer to the allegations contained in this petition.

                                        I declare under penalty of perjury that the foregoing is true and correct.
                                                          Executed on:     01/14/2016
                                                                           s/Corey M. McCain
                                                                           Corey M. McCain
                                                                           U.S. Probation Officer



 THE COURT ORDERS

 [ ]      No Action
 [ ]      The Issuance of a Warrant
 [ X]     The Issuance of a Summons
 [ ]      Other

                                                                           Signature of Judicial Officer
                                                                                  1/14/2016
                                                                           Date
